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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              __________ District of __________


                  US Dominion, Inc., et al.                    )
                             Plaintiff                         )
                                v.                             )      Case No. 1:21-cv-0040-CJN
                     Sidney Powell, et al.                     )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Sidney Powell, Sidney Powell, P.C., and Defending the Republic                                                .


Date:          02/04/2021                                                             /s/ Lawrence J. Joseph
                                                                                         Attorney’s signature


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